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                                                         United States District Court
                                                         Central District of California


 UNITED STATES OF AMERICA vs.                                                Docket No.             LACR 20-00370-VAP-1

 Defendant            AMBIANCE U.S.A., INC.                                  Social Security No. N          O     N        E

 akas: N/A                                                                   (Last 4 digits)

                                           JUDGMENT AND PROBATION/COMMITMENT ORDER


                                                                                                                      MONTH    DAY   YEAR
       In the presence of the attorney for the government, the defendant appeared in person on this date.             10       09    2020


 COUNSEL                                                              Benjamin N. Gluck, retained
                                                                             (Name of Counsel)

     PLEA             X GUILTY, and the court being satisfied that there is a factual basis for the plea.          NOLO               NOT
                                                                                                                CONTENDERE           GUILTY
  FINDING             There being a finding/verdict of GUILTY, defendant has been convicted as charged of the offense(s) of:

                      Conspiracy, in violation of Title 18 U.S.C. § 371, as charged in Count 1 of the Information; International Promotional
                      Money Laundering, in violation of Title 18 U.S.C. § 1956(a)(2)(A), as charged in Count 2 of the Information;
                      Entry of Goods Falsely Classified, in violation of Title 18 U.S.C. § 541, as charged in Count 3 of the Information;
                      Entry of Goods by Means of False Statements, in violation of Title 18 U.S.C. § 542, as charged in Count 4 of the
                      Information; Passing False and Fraudulent Papers Through Customhouse, in violation of Title 18 U.S.C. § 545, as
                      charged in Count 5 of the Information; Failure to file Report of Currency Transaction in a Non-Financial Trade or
                      Business, in violation of Title 31 U.S.C. §§ 5331(a)(1) and 5322(b), as charged in Counts 6-8 of the Information.

JUDGMENT The Court asked whether there was any reason why judgment should not be pronounced. Because no sufficient cause to the
AND PROB/ contrary was shown, or appeared to the Court, the Court adjudged the defendant guilty as charged and convicted and ordered
  COMM    that:
  ORDER

      It is ordered that the defendant shall pay to the United States a special assessment of $3,200, which is due
immediately.

        Pursuant to USSG §8C3.3(b), the advisory guideline fine range was not determined because it is readily
ascertainable that the defendant cannot and is not likely to become able to pay the minimum of the guideline fine range
in addition to restitution.

      It is ordered that the defendant shall pay restitution in the total amount of $35,227,855.45 pursuant to 18 U.S.C.
§ 3663A. The amount of restitution ordered shall be paid as follows:

         Victim                                                    Amount

         Internal Revenue Service                                  $16,806, 412.04

         Department of Homeland Security/                          $18,421,443.41
         Customs and Border Protection

         Restitution shall be paid in full immediately. The Court finds from a consideration of the record that the

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defendant's economic circumstances allow for a full and immediate payment of restitution.

         The defendant shall be held jointly and severally liable with co-defendant Sang Bum Noh for the amount of
restitution ordered in this judgment. The victims' recovery is limited to the amount of their loss and the defendant's
liability for restitution ceases if and when the victims receive full restitution.

        Pursuant to Guideline §5E1.2(a), all fines are waived as the Court finds that the defendant has established that
the defendant is unable to pay and is not likely to become able to pay any fine.

       The Court has entered a money judgment of forfeiture against the defendant, which is hereby incorporated by
reference into this judgment and is final.

        Pursuant to the Sentencing Reform Act of 1984, it is the judgment of the Court that the defendant, Ambiance
U.S.A., Inc., is hereby placed on probation on Counts One through Eight of the Information for a term of five (5) years.
This term consists of five years on each of Counts One through Eight of the Information, all such terms to run
concurrently under the following terms and conditions:

         1.           The Defendant Corporation shall comply with the rules and regulations of the United States Probation &
                      Pretrial Services Office. As Amended General Order 20-04 applies to individuals, it shall be deleted
                      from the original Court order.

         2.           The Defendant Corporation shall provide the Probation Officer with access to any and all business
                      records, client lists and other records pertaining to the operation of Ambiance U.S.A., Inc., as directed
                      by the Probation Officer.

         3.           The Defendant Corporation shall provide the Probation Officer access to any requested financial
                      information.

         4.           The Defendant Corporation shall apply all monies received from income tax refunds, lottery winnings,
                      inheritance, judgments and any anticipated or unexpected financial gains to the outstanding Court-
                      ordered financial obligation.

         5.           Within 30 days from the date of this judgment, the Defendant Corporation shall designate an official of
                      the Corporation to act as the Corporation’s representative and to be the primary contact with the
                      Probation Officer.

         6.           The Defendant Corporation shall answer truthfully all inquiries by the Probation Officer and follow the
                      instructions of the Probation Officer.

         7.           The Defendant Corporation shall notify the Probation Officer ten days prior to any change in the
                      principal business or mailing address or within 72 hours if advance notice is not possible.

         8.           The Defendant Corporation shall permit a Probation Officer to visit the corporation at any of its
                      operating business sites.

         9.           The Defendant Corporation shall report to the Probation Officer as directed and shall submit a truthful
                      and complete written report within the first five days of each month.

         10.          During the period of community supervision, the Defendant Corporation shall pay the special

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                      assessment and restitution in accordance with this judgment's orders pertaining to such payment. The
                      payment schedule is set forth in Exhibit E to the Plea Agreement filed August 25, 2020 (Dkt. No. 6).

         11.          The Defendant Corporation shall not commit another federal, state or local crime.

         12.          The Defendant Corporation shall develop and submit to the Court an effective compliance and ethics
                      program consistent with §8B2.1 (Effective Compliance and Ethics Program), which will be called “the
                      program.”. The Defendant Corporation shall include in its submission a schedule for implementation of
                      the compliance and ethics program.

         13.          Upon approval by the Court of a program referred to in Condition 12, the Defendant Corporation shall
                      notify its employees and shareholders of its criminal behavior and its program referred. Such notice
                      shall be in a form prescribed by the Court.

         14.          The Defendant Corporation shall make periodic submissions to the Court or Probation Officer, at
                      intervals specified by the Court, (A) reporting on the defendant organization's financial condition and
                      results of business operations, and accounting for the disposition of all funds received, and (B) reporting
                      on the defendant organization's progress in implementing the program. Among other things, reports
                      under subparagraph (B) shall disclose any criminal prosecution, civil litigation, or administrative
                      proceeding commenced against the defendant, or any investigation or formal inquiry by governmental
                      authorities of which the defendant organization learned since its last report.

         15.          The defendant organization shall develop and implement an effective anti-money laundering compliance
                      and ethics program as set forth in Exhibit C to the Plea Agreement for Defendant Ambiance U.S.A.,
                      Inc., filed on August 25, 2020 (Dkt. No. 6).

         16.          The defendant organization shall retain an independent, third-party compliance monitor (the "Monitor")
                      to review and assess in a professionally independent and objective fashion the Defendant Corporation’s
                      compliance with anti-money laundering laws, as well as Defendant Corporation’s compliance with the
                      terms of defendant's sentence in this matter. The Monitor's duties, powers, and responsibilities are set
                      forth in Exhibit D to the Plea Agreement for Defendant Ambiance U.S.A., Inc., filed on August 25, 2020
                      (Dkt. No. 6). The Defendant Corporation will engage the Monitor within ninety (90) calendar days, as
                      described in Exhibit D, from the date the Court imposes defendant organization's sentence.

         17.          The Defendant Corporation, or its successors-in-interest, if applicable, shall provide the USAO and the
                      Probation Officer with immediate notice of any name change, business reorganization, sale or purchase
                      of assets not in the usual course of business, divestiture of assets, or similar action materially impacting
                      its ability to pay the sums per the schedule ordered by the Court and set out in Exhibit E to the Plea
                      Agreement for Defendant Ambiance U.S.A., Inc., filed on August 25, 2020 (Dkt. No. 6). Notice shall be
                      delivered by certified mail to: United States Attorney's Office, Chief of the Criminal Division, 312 N.
                      Spring Street, Suite 1200, Los Angeles, California, 90012. No change in name, change in corporate or
                      individual control, business reorganization, change in ownership, merger, change of legal status, sale or
                      purchase of assets, or similar action shall alter the defendant organization's responsibilities under the
                      terms of its probation.

         Defendant is informed of his right to appeal.




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 In addition to the special conditions of supervision imposed above, it is hereby ordered that the Standard Conditions of Probation and
 Supervised Release within this judgment be imposed. The Court may change the conditions of supervision, reduce or extend the period of
 supervision, and at any time during the supervision period or within the maximum period permitted by law, may issue a warrant and revoke
 supervision for a violation occurring during the supervision period.




            October 16, 2020
            Date                                                           U. S. District Judge



 It is ordered that the Clerk deliver a copy of this Judgment and Probation/Commitment Order to the U.S. Marshal or other qualified officer.



                                                                           Clerk, U.S. District Court




            October 16, 2020                                        By     /s/ Christine Chung
            Filed Date                                                     Deputy Clerk



 The defendant must comply with the standard conditions that have been adopted by this court (set forth below).

                                STANDARD CONDITIONS OF PROBATION AND SUPERVISED RELEASE

                                 While the defendant is on probation or supervised release pursuant to this judgment:
 1.    The defendant must not commit another federal, state, or local crime;        9.     The defendant must not knowingly associate with any persons
 2.    The defendant must report to the probation office in the federal                    engaged in criminal activity and must not knowingly associate with
       judicial district of residence within 72 hours of imposition of a                   any person convicted of a felony unless granted permission to do so
       sentence of probation or release from imprisonment, unless                          by the probation officer. This condition will not apply to intimate
       otherwise directed by the probation officer;                                        family members, unless the court has completed an individualized
 3.    The defendant must report to the probation office as instructed by the              review and has determined that the restriction is necessary for
       court or probation officer;                                                         protection of the community or rehabilitation;
 4.    The defendant must not knowingly leave the judicial district without         10.    The defendant must refrain from excessive use of alcohol and must
       first receiving the permission of the court or probation officer;                   not purchase, possess, use, distribute, or administer any narcotic or
 5.    The defendant must answer truthfully the inquiries of the probation                 other controlled substance, or any paraphernalia related to such
       officer, unless legitimately asserting his or her Fifth Amendment                   substances, except as prescribed by a physician;
       right against self-incrimination as to new criminal conduct;                 11.    The defendant must notify the probation officer within 72 hours of
 6.    The defendant must reside at a location approved by the probation                   being arrested or questioned by a law enforcement officer;
       officer and must notify the probation officer at least 10 days before        12.    For felony cases, the defendant must not possess a firearm,
       any anticipated change or within 72 hours of an unanticipated change                ammunition, destructive device, or any other dangerous weapon;
       in residence or persons living in defendant’s residence;                     13.    The defendant must not act or enter into any agreement with a law
 7.    The defendant must permit the probation officer to contact him or her               enforcement agency to act as an informant or source without the
       at any time at home or elsewhere and must permit confiscation of                    permission of the court;
       any contraband prohibited by law or the terms of supervision and             14.    As directed by the probation officer, the defendant must notify
       observed in plain view by the probation officer;                                    specific persons and organizations of specific risks posed by the
 8.    The defendant must work at a lawful occupation unless excused by                    defendant to those persons and organizations and must permit the
       the probation officer for schooling, training, or other acceptable                  probation officer to confirm the defendant’s compliance with such
       reasons and must notify the probation officer at least ten days before              requirement and to make such notifications;
       any change in employment or within 72 hours of an unanticipated              15.    The defendant must follow the instructions of the probation officer
       change;                                                                             to implement the orders of the court, afford adequate deterrence from
                                                                                           criminal conduct, protect the public from further crimes of the
                                                                                           defendant; and provide the defendant with needed educational or
                                                                                           vocational training, medical care, or other correctional treatment in
                                                                                           the most effective manner.




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      The defendant must also comply with the following special conditions (set forth below).

           STATUTORY PROVISIONS PERTAINING TO PAYMENT AND COLLECTION OF FINANCIAL SANCTIONS

           The defendant must pay interest on a fine or restitution of more than $2,500, unless the court waives interest or unless the fine or
 restitution is paid in full before the fifteenth (15th) day after the date of the judgment under 18 U.S.C. § 3612(f)(1). Payments may be subject
 to penalties for default and delinquency under 18 U.S.C. § 3612(g). Interest and penalties pertaining to restitution, however, are not applicable
 for offenses completed before April 24, 1996.

          If all or any portion of a fine or restitution ordered remains unpaid after the termination of supervision, the defendant must pay the
 balance as directed by the United States Attorney’s Office. 18 U.S.C. § 3613.

          The defendant must notify the United States Attorney within thirty (30) days of any change in the defendant’s mailing address or
 residence address until all fines, restitution, costs, and special assessments are paid in full. 18 U.S.C. § 3612(b)(l)(F).

          The defendant must notify the Court (through the Probation Office) and the United States Attorney of any material change in the
 defendant’s economic circumstances that might affect the defendant’s ability to pay a fine or restitution, as required by 18 U.S.C. § 3664(k).
 The Court may also accept such notification from the government or the victim, and may, on its own motion or that of a party or the victim,
 adjust the manner of payment of a fine or restitution under 18 U.S.C. § 3664(k). See also 18 U.S.C. § 3572(d)(3) and for probation 18 U.S.C.
 § 3563(a)(7).

           Payments will be applied in the following order:

                      1. Special assessments under 18 U.S.C. § 3013;
                      2. Restitution, in this sequence (under 18 U.S.C. § 3664(i), all non-federal victims must be paid before the United
                        States is paid):
                                Non-federal victims (individual and corporate),
                                Providers of compensation to non-federal victims,
                                The United States as victim;
                      3. Fine;
                      4. Community restitution, under 18 U.S.C. § 3663(c); and
                      5. Other penalties and costs.

            CONDITIONS OF PROBATION AND SUPERVISED RELEASE PERTAINING TO FINANCIAL SANCTIONS

          As directed by the Probation Officer, the defendant must provide to the Probation Officer: (1) a signed release authorizing credit
 report inquiries; (2) federal and state income tax returns or a signed release authorizing their disclosure and (3) an accurate financial statement,
 with supporting documentation as to all assets, income and expenses of the defendant. In addition, the defendant must not apply for any loan
 or open any line of credit without prior approval of the Probation Officer.

          The defendant must maintain one personal checking account. All of defendant’s income, “monetary gains,” or other pecuniary
 proceeds must be deposited into this account, which must be used for payment of all personal expenses. Records of all other bank accounts,
 including any business accounts, must be disclosed to the Probation Officer upon request.

         The defendant must not transfer, sell, give away, or otherwise convey any asset with a fair market value in excess of $500 without
 approval of the Probation Officer until all financial obligations imposed by the Court have been satisfied in full.

                                 These conditions are in addition to any other conditions imposed by this judgment.




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                                                                    RETURN

I have executed the within Judgment and Commitment as follows:
  Defendant delivered on                                                                     to
 Defendant noted on appeal on
 Defendant released on
 Mandate issued on
 Defendant’s appeal determined on
 Defendant delivered on                                                                    to
     at
     the institution designated by the Bureau of Prisons, with a certified copy of the within Judgment and Commitment.

                                                                     United States Marshal


                                                              By
            Date                                                     Deputy Marshal




                                                                   CERTIFICATE

 I hereby attest and certify this date that the foregoing document is a full, true and correct copy of the original on file in my office, and in my
 legal custody.
                                                                     Clerk, U.S. District Court


                                                              By
            Filed Date                                               Deputy Clerk



                                                 FOR U.S. PROBATION OFFICE USE ONLY



Upon a finding of violation of probation or supervised release, I understand that the court may (1) revoke supervision, (2) extend the term of
supervision, and/or (3) modify the conditions of supervision.


         These conditions have been read to me. I fully understand the conditions and have been provided a copy of them.



         (Signed)
                      Defendant                                                               Date




                      U. S. Probation Officer/Designated Witness                              Date




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